     CASE 0:10-cr-00339-PJS-ECW       Doc. 262    Filed 06/09/11   Page 1 of 12




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                              Crim. No. 10-339 (PJS/JJK)

                    Plaintiff,

v.                                          REPORT AND RECOMMENDATION

(6) Cruz Rosales,

                    Defendant.


Jeffrey S. Paulsen, Esq., Assistant United States Attorney, counsel for Plaintiff.

Michael C. Hager, Esq., Hager Law Office, counsel for Defendant Rosales.


JEFFREY J. KEYES, United States Magistrate Judge

      This matter is before the Court on Defendant Cruz Rosales‟s Motion to

Suppress Physical Evidence (Doc. No. 204) and Motion to Suppress Statements

(Doc. No. 203). This Court held an evidentiary hearing on the motions and

received testimony from the following Government witnesses: DEA task force

agent Detective Jeffrey M. Miller and St. Paul Police Officer Pat Dale. The

matter was referred to the undersigned for a Report and Recommendation

pursuant to 28 U.S.C. § 636 and D. Minn. Loc. R. 72.1. For the reasons set forth

below, this Court recommends that Defendant‟s motions be denied.

                                 BACKGROUND

      Defendant Rosales and six Co-Defendants were indicted on charges of

conspiracy to distribute methamphetamine, cocaine, and marijuana in violation of
     CASE 0:10-cr-00339-PJS-ECW        Doc. 262    Filed 06/09/11   Page 2 of 12




21 U.S.C. §§ 846 and 841(b)(1)(A). (Doc. Nos. 7, 62.) Defendant Rosales was

also charged with one count of distribution of methamphetamine in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(B). (Id.)

      Over the last several years, the Government has been investigating a drug

trafficking organization led by Noe Alamos-Pantoja, a Co-Defendant in this

matter.1 Sometime before June 7, 2010, Detective Miller and other officers

learned that individuals associated with a Mexican drug supplier and fugitive,

Gustavo Valvodinos, were in Minnesota to collect on a drug debt owed to

Valvodinos and his organization. Detective Miller also testified that they learned

that on June 7, 2010, in payment of a past drug debt to Valvodinos, a

cooperating informant was going to give up to Valvodinos the title to his vehicle.

With the agents nearby, the cooperating informant met with four individuals who

were in a black Hummer vehicle and then gave one of them, a woman, the title to

settle the drug debt. The informant then sent a text message to the agents

confirming the transaction. Surveillance officers then followed the Hummer and

later observed four individuals leave the Hummer and enter the Department of

Motor Vehicles in St. Paul. The surveillance officers concluded that they were

going into the DMV to transfer the title. After the four individuals returned to the

Hummer, the officers contacted a St. Paul uniformed police officer in a marked

squad car, and directed him to perform a traffic stop and obtain identifications for

1
     The following summary is based on the testimony of Officers Jeffrey Miller
and Pat Dale at the evidentiary hearing and the hearing exhibits.

                                          2
     CASE 0:10-cr-00339-PJS-ECW       Doc. 262    Filed 06/09/11   Page 3 of 12




the Hummer‟s occupants. Officer Pat Dale responded to the call, stopped the

vehicle and obtained identification for its occupants, including Defendant

Rosales. Neither the car nor its occupants were searched and no one was

arrested.

      Then, as a result of the federal wiretap monitoring, Detective Miller and

other agents learned that a pound of methamphetamine would be delivered to

Noe Alamos-Pantoja on July 31, 2010. A surveillance team following Alamos

Pantoja observed two Hispanic men—both wearing red soccer jerseys—meet

with Alamos-Pantoja, transfer a package to him, and then leave in a Toyota.

Immediately after this transaction, Alamos-Pantoja texted his drug source as

follows: “It‟s done buddy they gave me the work.” Detective Miller testified that

“work” is common street jargon for drugs. Surveillance officers followed the two

men in red jerseys after they drove away from Alamos Pantoja and headed to the

Minneapolis/St. Paul airport. The two men got out of the Toyota in the parking

ramp and entered the airport. The surveillance officers alerted airport police and

asked them to identify the two Hispanic men in red jerseys. The airport

personnel identified the two Hispanic males as Defendant Cruz Rosales and Co-

Defendant Benjamin Perez. As Rosales and Perez went through TSA security in

preparation for their flight to Portland, Oregon, the airport personnel discovered

approximately $10,000 in cash on each person. Following the discovery of

$10,000 in cash on his person, Rosales spoke to an investigator and stated that

the money was going to be used for the purchase of vehicles in Oregon.

                                         3
     CASE 0:10-cr-00339-PJS-ECW         Doc. 262    Filed 06/09/11   Page 4 of 12




      Defendant Rosales now seeks to suppress evidence obtained during the

June 7, 2010 and July 31, 2010 stops as well as statements he provided to the

airport officers during the July 31, 2010 stop. The Government opposes these

motions. This Court concludes that Defendant‟s motions to suppress evidence

and statements should be denied.

                                     ANALYSIS

I.    Defendant Rosales’s Motion to Suppress Evidence

      A.     The June 7, 2010 Terry Stop and Identification

      “[A] police officer may in appropriate circumstances and in an appropriate

manner approach a person for purposes of investigating possibly criminal

behavior even though there is no probable cause to make an arrest.” Terry v.

Ohio, 392 U.S. 1, 30 (1968); see also United States v. Bell, 480 F.3d 860, 863

(8th Cir. 2007). The officer must have “a particularized and objective basis” for

suspecting criminal activity. Bell, 480 F.3d at 863 (quoting United States v.

Jacobsen, 391 F.3d 904, 906 (8th Cir. 2004)). Such suspicion may not be based

on an inchoate or unparticularized suspicion or hunch, but must be grounded on

facts that, in light of the officer‟s experience, support specific, reasonable

inferences that justify the intrusion. Terry, 392 U.S. at 22. “Whether the particular

facts known to the officer amount to an objective and particularized basis for a

reasonable suspicion of criminal activity is determined in light of the totality of the

circumstances.” Bell, 480 F.3d at 863 (quoting United States v. Maltais, 403 F.3d

550, 554 (8th Cir. 2005)). When a reasonable and articulable suspicion exists,

                                           4
     CASE 0:10-cr-00339-PJS-ECW        Doc. 262    Filed 06/09/11   Page 5 of 12




the detaining officer may conduct an investigative stop of the suspect in order to

confirm or dispel his or her suspicion. United States v. Johnson, 64 F.3d 1120,

1124 (8th Cir. 1995).

      Officers may “draw on their own experience and specialized training to

make inferences from and deductions about the cumulative information available

to them that might well elude an untrained person.” United States v. Ortiz-

Monroy, 332 F.3d 525, 529 (8th Cir. 2003) (quotations omitted). Therefore, a

stop may be justified even where no traffic violation has occurred. United States

v. Mora-Higuera, 269 F.3d 905, 909 (8th Cir. 2001). And even innocent actions

may give rise to reasonable suspicion if they warrant consideration under the

totality of the circumstances. See United States v. Condelee, 915 F.2d 1206,

1209 (8th Cir. 1990) (stating that “there could be „circumstances in which wholly

lawful conduct might justify the suspicion that criminal activity was afoot‟”)

(quoting Reid v. Georgia, 448 U.S. 438, 441 (1980)).

      Further, courts have used the “„collective knowledge‟ theory to impute the

knowledge of one officer to others.” United States v. Terry, 400 F.3d 575, 581

(8th Cir. 2005) (applying collective knowledge doctrine to uphold seizure of

ammunition by officer with no personal knowledge that defendant was subject to

protective order restricting him from possessing ammunition). As such, “the

knowledge of one officer is the knowledge of all and [ ] in the operation of an

investigative or police agency the collective knowledge and the available

objective facts are the criteria to be used in assessing probable cause.” U.S. v.

                                          5
     CASE 0:10-cr-00339-PJS-ECW       Doc. 262    Filed 06/09/11   Page 6 of 12




Stratton, 453 F.2d 36, 37 (8th Cir. 1972). Further, the Supreme Court has noted

that “effective law enforcement cannot be conducted unless police officers can

act on directions and information transmitted by one officer to another.” United

States v. Hensley, 469 U.S. 221, 231 (1985) (quotations omitted) (emphasis

added).

      Here, the informant's information, corroborated by police surveillance, and

the collective knowledge of Detective Miller and the teams of investigation and

surveillance officers provided sufficient grounds for Officer Pat Dale to stop

Defendant Rosales and ask for his identification under Terry, 392 U.S. at 30.

The informant in this case was known to law enforcement and had provided

reliable information in the past. The informant‟s facts regarding the title

handover to the Hummer‟s occupant were corroborated when surveillance

officers saw the four people enter the DMV building and return to their vehicle a

short time later. At that point, the surveillance officers had, at a minimum, a

reasonable and articulable suspicion to conduct an investigative stop and identify

the occupants of the vehicle. But they did not wish to compromise the ongoing

investigation—and expose their under-cover operations—by stopping Defendant

in their unmarked cars. So they called a uniformed officer in a marked squad to

perform the traffic stop instead. Officer Pat Dale responded to the call and was

directed to stop the black Hummer and get the occupants‟ identifications, which

he did. That Officer Dale himself was unaware of the reasons underlying the

stop and was not informed about the Government‟s investigation of Defendant is

                                         6
     CASE 0:10-cr-00339-PJS-ECW        Doc. 262    Filed 06/09/11   Page 7 of 12




irrelevant because he was acting under the direction of the officers whose

knowledge justified the stop and identification. See Hensley, 469 U.S. at 231

(“[E]”ffective law enforcement cannot be conducted unless police officers can act

on directions and information transmitted by one officer to another.”) (emphasis

added).

      B.     The July 31, 2010 Airport Stop and Identification

      As with the June 7, 2010 stop, this Court finds no constitutional infirmities

with the July 31, 2010 airport personnel‟s stop and identification of Defendant

Rosales.

      “It is well established that the burdens of production and persuasion

generally rest upon the movant in a suppression hearing.” United States v.

Starks, 193 F.R.D. 624, 629 (D. Minn. 2000) (quoting United States v. de la

Fuente, 548 F.2d 528, 533 (5th Cir. 1977), cert. denied, 431 U.S. 932, 97

(1977)); see also United States v. Phillips, 540 F.2d 319, 325 (8th Cir. 1976)

(stating that the ultimate burden of proof is on the defendant who seeks to

suppress evidence). “At a minimum, it is defendant‟s burden to come forth with

some evidence and argument to support his position that evidence . . . should be

suppressed.” United States v. Rosetter, Crim. No. 10-83 (JNE/JSM), 2010 WL

5184991, at *23 (D. Minn. Oct. 1, 2010) (citing Starks, 193 F.R.D. at 629)

(“[E]ven in those circumstances where the Government has the ultimate burden

of persuasion, Defendant has the initial burden of making a prima facie showing

of illegality.”). And “[f]ailure to provide the Court with any support for the motion

                                          7
     CASE 0:10-cr-00339-PJS-ECW       Doc. 262    Filed 06/09/11   Page 8 of 12




is a sufficient basis for denial of the motion.” Rosetter, 2010 WL 5184991, at *23.

Defendant Rosales has not met his burden.

      As discussed above, “a police officer may in appropriate circumstances

and in an appropriate manner approach a person for purposes of investigating

possibly criminal behavior even though there is no probable cause to make an

arrest.” Terry, 392 U.S. at 30; see also Bell, 480 F.3d at 863. An officer may

conduct a Terry investigative stop as long as he has “a particularized and

objective basis” for suspecting criminal activity. Bell, 480 F.3d at 863 (quoting

Jacobsen, 391 F.3d at 906).

      Here, the officers had, at a minimum, a reasonable and articulable

suspicion to stop and identify Defendant Rosales at the Minneapolis/St. Paul

airport on July 31, 2010. The investigation officers had reasonable suspicion to

believe that he had just engaged in criminal activity by delivering a large quantity

of drugs and some cash to Alamos-Pantoja. As such, they were justified in

alerting the airport police and directing them to stop and identify Defendant

Rosales under the collective knowledge doctrine. See Hensley, 469 U.S. at 231

(“[E]”ffective law enforcement cannot be conducted unless police officers can act

on directions and information transmitted by one officer to another.”) (emphasis

added).

      C.     Defendant’s Inspection and Discovery of $10,000

      By going through security at MSP, Defendant Rosales voluntarily

subjected himself and his belongings to a permissible administrative search. See

                                         8
      CASE 0:10-cr-00339-PJS-ECW        Doc. 262    Filed 06/09/11   Page 9 of 12




U.S. v. Aukai, 497 F.3d 955, 960 (9th Cir. 2007) (en banc) (“We have held that

airport screening searches, like the one at issue here, are constitutionally

reasonable administrative searches because they are conducted as part of a

general regulatory scheme in furtherance of an administrative purpose, namely,

to prevent the carrying of weapons or explosives aboard aircraft, and thereby to

prevent hijackings”) (internal quotations omitted); United States v. Hartwell, 436

F.3d 174, 178 (3d Cir. 2006) (discussing the validity of various types of airport

checkpoint and administrative searches). And in light of the evidence of

Defendant Rosales‟s involvement in the drug deal before he went directly to the

airport, the officers likely had probable cause to direct the airport police to arrest

Defendant, but chose not to do so to avoid compromising the ongoing

investigation of other co-conspirators. In sum, Defendant has not provided any

evidence to establish that suppression of money is warranted. Accordingly, this

Court recommends that Defendant‟s motion to suppress the discovery of $10,000

be denied.

II.    Defendant Rosales’s Motion to Suppress Statements

       Defendant brought a motion to suppress his statements to airport

personnel during the June 31, 2010 stop at the Minneapolis/St. Paul airport. At

the hearing and in its written submissions, the Government made clear that it

does not intend to use Defendant‟s statements to airport personnel in its case-in-

chief, but reserves the right to use them for impeachment or rebuttal.



                                           9
    CASE 0:10-cr-00339-PJS-ECW        Doc. 262    Filed 06/09/11   Page 10 of 12




Nonetheless, Defendant‟s counsel declined to withdraw his suppression motion

relating to statements.

      Because the Government already promised not to use Defendant‟s

statements to airport investigator in its case-in-chief, Defendant‟s motion to

suppress statements should be denied as moot. The Government has reserved

the right to use the statements for impeachment purposes, but this does not alter

the outcome of Defendant‟s motion. Even statements that are inadmissible in a

prosecution‟s case-in-chief for fear of violating a defendant‟s Fifth Amendment

rights can be admissible for impeachment purposes. Harris v. New York, 401

U.S. 222 (1971); see also Krimmel v. Hopkins, 44 F.3d 704, 709 (8th Cir. 1995)

(holding that the Government can use statements that are inadmissible in its

case-in-chief to impeach a defendant‟s credibility). This is because suppressing

illegally obtained statements for the Government‟s case-in-chief fulfills the

exclusionary rule‟s purpose. Harris, 401 U.S. at 224, 225. If a defendant takes

the stand and places his credibility at issue, the Government may use his

statements—even those statements obtained in violation of Miranda v. Arizona,

384 U.S. 436 (1966)—for impeachment purposes as long as he made them

voluntarily.2 Id. The admissibility of rebuttal evidence, however, is a matter left

to the sound discretion of the trial judge. United States v. Armstrong,

462 F.2d 408, 411 (8th Cir. 1972). Accordingly, whether any of Defendant‟s


2
       Defendant has not presented any evidence to suggest that his statements
to the airport police were involuntary.
                                         10
    CASE 0:10-cr-00339-PJS-ECW        Doc. 262    Filed 06/09/11   Page 11 of 12




statements are admissible as impeachment or rebuttal evidence is a

determination best left for the trial judge, if the need for such a determination

arises.


                               RECOMMENDATION

      Based on the files, records and proceedings herein,

      IT IS HEREBY RECOMMENDED that:

      1.     Defendant Rosales‟s Motion to Suppress Physical Evidence (Doc.

No. 204), be DENIED; and

      2.     Defendant Rosales‟s Motion to Suppress Statements (Doc. No.

203), be DENIED AS MOOT.

Date: June 9, 2011
                                               s/Jeffrey J. Keyes
                                              JEFFREY J. KEYES
                                              United States Magistrate Judge


Under D. Minn. LR 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by June
16, 2011, a writing which specifically identifies those portions of this Report to
which objections are made and the basis of those objections. Failure to comply
with this procedure may operate as a forfeiture of the objecting party‟s right to
seek review in the Court of Appeals. A party may respond to the objecting
party‟s brief within seven days after service thereof. All briefs filed under this
rule shall be limited to 3500 words. A judge shall make a de novo determination
of those portions of the Report to which objection is made. This Report and
Recommendation does not constitute an order or judgment of the District Court,
and it is therefore not appealable directly to the Circuit Court of Appeals.




                                         11
    CASE 0:10-cr-00339-PJS-ECW       Doc. 262    Filed 06/09/11   Page 12 of 12




Unless the parties stipulate that the District Court is not required by 28 U.S.C.
§ 636 to review a transcript of the hearing in order to resolve all objections made
to this Report and Recommendation, the party making the objections shall timely
order and file a complete transcript of the hearing within ten days of receipt of
the Report.




                                        12
